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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

                                                :
David and Irine Shimonov,                       :
                                                :
                      Plaintiffs,               : Civil Action No.: 1:12-cv-03745-DLI-SMG
       v.                                       :
                                                :
Monarch Recovery Management, Inc.; and          :
DOES 1-10, inclusive,                           :
                                                :
                      Defendants.               :
                                                :


            NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                    DISMISSAL OF ACTION WITH PREJUDICE
                           PURSUANT TO RULE 41(a)


       David and Irine Shimonov (“Plaintiffs”), by Plaintiffs’ attorney, hereby withdraw the
complaint and voluntarily dismiss this action, with prejudice, pursuant to Fed. R. Civ. P.
41(a)(1)(A)(i).

Dated: October 4, 2012

                                                           Respectfully submitted,


                                                           By: /s/ Sergei Lemberg

                                                           Sergei Lemberg (SL 6331)
                                                           Lemberg & Associates L.L.C.
                                                           1100 Summer Street, 3rd Floor
                                                           Stamford, CT 06905
                                                           Telephone: (203) 653-2250
                                                           Facsimile: (203) 653-3424
                                                           Attorneys for Plaintiffs
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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 4, 2012, a true and correct copy of the foregoing Notice
of Withdrawal was served electronically by the U.S. District Court for the Eastern District of
New York Electronic Document Filing System (ECF) and that the document is available on the
ECF system.

                                             By_/s/ Sergei Lemberg_________
                                                    Sergei Lemberg
